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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

SEGA CORPORATION and SEGA OF
AMERICA, INC.,

                        Plaintiffs,                     Case No. 24-cv-05162
       v.

THE PARTNERSHIPS and
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A,”

                        Defendants.


                                          COMPLAINT

       Plaintiffs Sega Corporation and Sega of America, Inc. (collectively, “Sega” or “Plaintiffs”)

hereby bring the present action against the Partnerships and Unincorporated Associations

Identified on Schedule A attached hereto (collectively, “Defendants”) and allege as follows:

                             I.       JURISDICTION AND VENUE

       1.      This Court has original subject matter jurisdiction over Sega’s claims pursuant to

the provisions of the Lanham Act, 15 U.S.C. § 1051, et seq., the Copyright Act 17 U.S.C. § 501,

et seq., 28 U.S.C. § 1338(a)-(b) and 28 U.S.C. § 1331.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

exercise personal jurisdiction over Defendants because Defendants structure their business

activities to target consumers in the United States, including Illinois, through at least the fully

interactive e-commerce stores operating under the aliases identified on Schedule A attached hereto

(the “Seller Aliases”). Specifically, Defendants have targeted sales to Illinois residents by setting

up and operating e-commerce stores that target United States consumers; offer shipping to the

United States, including Illinois; accept payment in U.S. dollars; and, on information and belief,



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sell products using infringing and counterfeit versions of Sega’s federally registered trademarks

and/or unauthorized copies of Sega’s federally registered copyrighted works (collectively, the

“Unauthorized Products”) to residents of Illinois. Each of the Defendants is committing tortious

acts in Illinois, is engaging in interstate commerce, and has wrongfully caused Sega substantial

injury in the state of Illinois.

                                    II.     INTRODUCTION

        3.      Sega filed this case to prevent e-commerce store operators who trade upon Sega’s

reputation and goodwill from further selling and/or offering for sale Unauthorized Products.

Defendants create e-commerce stores under one or more Seller Aliases and then advertise, offer

for sale, and/or sell Unauthorized Products to unknowing consumers.             E-commerce stores

operating under the Seller Aliases share identifiers, such as design elements and similarities of the

Unauthorized Products offered for sale, establishing that a logical relationship exists between

them, and that Defendants’ infringing operation arises out of the same transaction, occurrence, or

series of transactions or occurrences. Defendants take advantage of a set of circumstances,

including the anonymity and mass reach afforded by the Internet and the cover afforded by

international borders, to violate Sega’s intellectual property rights with impunity. Defendants

attempt to avoid liability by operating under one or more Seller Aliases to conceal their identities,

locations, and the full scope and interworking of their operation. Sega is forced to file this action

to combat Defendants’ counterfeiting of its registered trademarks and infringement of its registered

copyrighted works, as well as to protect consumers from purchasing Unauthorized Products over

the Internet. Sega has been, and continues to be, irreparably damaged through consumer confusion

and dilution of its valuable trademarks and infringement of its copyrighted works because of

Defendants’ actions and therefore seeks injunctive and monetary relief.




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                                     III.    THE PARTIES

       4.      Plaintiff Sega Corporation is a Japanese corporation having its principal place of

business at Sumitomo Fudosan Osaki Garden Tower, 1-1-1 Nishi-Shinagawa-ku, Tokyo 141-

0033, Japan. Plaintiff Sega of America, Inc. is a California corporation having its principal place

of business at 6400 Oak Canyon, Suite 100, Irvine, California 92618. Plaintiffs are wholly owned

subsidiaries of Sega Sammy Holdings, Inc., a publicly traded company on the Tokyo Stock

Exchange. Sega Corporation and/or Sega of America, Inc. own the trademarks and copyrights

asserted in this action. Plaintiff Sega Corporation, Plaintiff Sega of America, Inc. and Sega Sammy

Holdings, Inc. are referred to herein together or individually as “Sega.”

       5.      Sega is a multinational video game, entertainment, and animation company, as well

as a former manufacturer of home computers and video game consoles. Sega has developed and

manufactured numerous video game consoles, including the famous video game consoles Sega

Genesis and Sega Dreamcast, and also provides software as a third-party developer. Known as

one of the most iconic developers in the video game industry, Sega has successfully developed

and launched multiple video game franchises including Sonic the Hedgehog.

       6.      Sonic the Hedgehog, pictured below, is Sega’s most famous video game character.

Since the 1991 release of the first Sonic the Hedgehog game, the Sonic the Hedgehog video game

series has gained worldwide popularity, with Sega generating at least 1.38 billion downloads of

the series to date. The Sonic the Hedgehog video game series includes Sonic the Hedgehog, Sonic

the Hedgehog 2, Sonic Chaos, Sonic Mania, and many others. In addition to the Sonic the

Hedgehog video game series, Sega has developed a variety of Sonic the Hedgehog initiatives

globally, including movies, animation, music, and merchandising. Some of the characters and




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character names made famous by the Sonic the Hedgehog franchise include, but are not limited

to: 1




                   Sonic the Hedgehog




                  Miles “Tails” Prower




                 Knuckles the Echidna




1
 The characters contained within the table are not an exhaustive list of the characters embodied in Sega’s
copyrighted works. This table is included only to provide examples of the characters found on the infringing
products offered for sale or sold by Defendants. Regardless of any changes in their design, each of these
characters, among others contained within Sega’s copyrighted works, have always maintained their
distinctive qualities and unique elements of expression.


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        Shadow the Hedgehog




      Dr. Robotnik/ Dr. Eggman




            Jet the Hawk




         Silver the Hedgehog




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             Amy Rose




             Metal Sonic




                Chao




            Rogue the Bat




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            Blaze the Cat




             Big the Cat




          Tangle the Lemur




          Cream the Rabbit




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           7.       Since the release of the first Sonic the Hedgehog game in 1991, Sega has released

over twenty Sonic the Hedgehog video games and has developed numerous spin-off TV shows,

comic books, and movies.

           8.       In 2019, Sega released the Sega Genesis Mini – a slick, miniaturized version of its

famous Genesis video game console that was first released in the 1980s. Due to the success of the

Sega Genesis Mini, Sega released the Sega Genesis Mini 2 in October, 2022. 2 The Sega Genesis

Mini 2 is based on the Sega Genesis Model 2, a smaller version of the original Sega Genesis that

was released in 1994. The Genesis Mini 2, designed to be ready to plug and play right out of the

box, comes pre-loaded with 60 legendary Genesis games, including Sonic the Hedgehog, Sonic

the Hedgehog 2, Sonic CD, and Shining Force II.

           9.       In 2020, Sega partnered with Paramount Pictures Corporation to produce the

feature film Sonic The Hedgehog. The movie grossed nearly $320 million worldwide and became

the domestic top-grossing video game adaptation film at the time. A second film, Sonic the

Hedgehog 2, was released in 2022. A third film, Sonic the Hedgehog 3, has been announced, with

an upcoming release date of December 20, 2024.




                                                     Figure 1

2
    See https://sega.jp/genesismini2/.


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       10.     Before Defendants’ acts described herein, Sega launched the Sonic the Hedgehog

video game franchise and its related line of products bearing its famous SONIC THE HEDGEHOG

mark. Sega has also registered a multitude of works related to the Sonic the Hedgehog franchise

and the characters embodied therein with the United States Copyright Office, including at least:

(1) episodes of animated television shows based on the Sonic the Hedgehog video game series,

including Adventures of Sonic the Hedgehog and Sonic Boom; (2) Sonic the Hedgehog video

games; (3) Sonic the Hedgehog comic books; and (4) the two Sonic the Hedgehog films produced

in 2020 and 2022, respectively (the “Sega Copyrighted Works”).

       11.     The Sega Copyrighted Works are registered with the United States Copyright

Office. True and correct copies of the records from the U.S. Copyright Office website for the Sega

Copyrighted Works are attached hereto as Exhibit 1. The Sega Copyrighted Works embody the

distinctive characters found in paragraph 6 above.

       12.     Among the exclusive rights granted to Sega under the U.S. Copyright Act are the

exclusive rights to reproduce, prepare derivative works of, distribute copies of, and display the

Sega Copyrighted Works to the public. Since first publication, the Sega Copyrighted Works have

been used on Sega’s products and are featured on Sega’s official websites.

       13.     Sega markets and sells a variety of products, including video games and video game

consoles; accessories like key chains; backpacks; face masks; cell phone covers; apparel including

t-shirts and sweatshirts; household items such as water bottles, mugs, blankets, and pillows; and

other collectibles such as plush toys, comics, and toys (collectively, “Sega Products”).

       14.     Sega Products have become enormously popular and even iconic, driven by Sega’s

quality standards and innovative designs. Among the purchasing public, Sega Products are

instantly recognizable as such. The Sega and Sonic the Hedgehog brands have become global



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successes and Sega Products are among the most recognizable in the world. Sega Products are

distributed and sold to consumers through retailers throughout the United States, including through

authorized retailers in Illinois such as Amazon, Old Navy, Target, Walmart, Best Buy, GameStop,

and Kohls, and through the official shop.sega.com website.

        15.     Sega has used the SEGA and SONIC THE HEDGEHOG trademarks, and other

trademarks, for many years and has continuously sold products under its trademarks (collectively,

the “Sega Trademarks”). As a result of this long-standing use, strong common law trademark

rights have amassed in the Sega Trademarks. Sega’s use of the marks has also built substantial

goodwill in the Sega Trademarks. The Sega Trademarks are famous marks and valuable assets of

Sega.   Sega Products typically include at least one of the Sega Trademarks and/or Sega

Copyrighted Works.

        16.     The Sega Trademarks are registered with the United States Patent and Trademark

Office, a non-exclusive list of which is included below.

  Registration                                    Registration
                                                                         Goods and Services
   Number                 Trademark                  Date
                         SONIC THE                                For: Video game software in class
    3,009,472                                    Oct. 25, 2005
                         HEDGEHOG                                 009.
                                                                  For: Key rings of precious metals;
                                                                  badges of precious metal;
                                                                  wristwatches; watches; clocks in
                                                                  class 014.

                                                                  For: Printed matter, namely, books,
                         SONIC THE
    4,673,369                                    Jan. 20, 2015    magazines and newsletters
                         HEDGEHOG
                                                                  featuring animation, video games,
                                                                  computer games, arcade games,
                                                                  posters; comic books; note books in
                                                                  class 016.

                                                                  For: Bags, namely, backpacks,



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                                                    shoulder bags in class 018.

                                                    For: Picture frames in class 020.

                                                    For: Cups; bottles, sold empty in
                                                    class 021.

                                                    For: Quilts; quilt covers;
                                                    pillowcases; bed blankets in class
                                                    024.

                                                    For: Clothing, namely, t-Shirts,
                                                    shirts, socks, underwear, sweaters,
                                                    parkas, head wear, pajamas; shoes
                                                    in class 025.

                                                    For: Amusement game machines
                                                    and coin-operated amusement
                                                    machines for use in amusement
                                                    parks; toys, namely, electronic
                                                    action toys, inflatable toys,
                                                    mechanical action toys puzzles, toy
                                                    building blocks, board games;
                                                    action figures; electronic action
                                                    toys; dolls; stuffed toys; playing
                                                    cards; sports equipment, namely,
                                                    skateboards in class 028.

                                                    For: Confectionery made of sugar;
                                                    ice cream in class 030.

                                                  For: Carbonated soft drinks; non-
                                                  alcoholic beverages, namely, fruit-
                                                  flavored soft drinks and soda water
                                                  in class 032.
                                                  For: Recorded videotapes and
                                                  videodiscs featuring animation,
                 SONIC THE
6,358,553                            May 25, 2021 action, adventure and comedy
                 HEDGEHOG
                                                  films; downloadable films and
                                                  movies featuring animation, action,



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                                                   adventure and comedy provided via
                                                   a video-on-demand service; motion
                                                   picture films featuring animation,
                                                   action, adventure and comedy;
                                                   downloadable graphics for
                                                   computers, video game machines
                                                   and mobile phones featuring scenes
                                                   and characters based on animated
                                                   cartoons, computer games and
                                                   video games; electronic
                                                   publications, namely, downloadable
                                                   electronic books and magazines in
                                                   the field of motion pictures,
                                                   cartoons, music, computer games
                                                   and video games; phonograph
                                                   records featuring music;
                                                   downloadable music files via a
                                                   global computer network and
                                                   wireless devices; recorded compact
                                                   discs featuring music, video game
                                                   sounds and dialogues; compact
                                                   discs, prerecorded audio tapes, and
                                                   downloadable files featuring
                                                   musical sound recordings; mobile
                                                   phone straps; protective cases for
                                                   cell phones; downloadable
                                                   computer game programs; recorded
                                                   computer game programs;
                                                   downloadable computer game
                                                   software; recorded computer game
                                                   software; downloadable video game
                                                   software; recorded video game
                                                   software; downloadable video game
                                                   programs; recorded video game
                                                   programs; video game discs and
                                                   cartridges; downloadable computer
                                                   game software for use on mobile
                                                   and cellular phones in class 009.




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                   SONIC                             For: Video game software in class
3,584,384                            Mar. 03, 2008
                 UNLEASHED                           009.
                                                     For: Computer game programs;
                                                     computer game software; computer
                                                     game software for use on mobile
                                                     and cellular phones; mobile phone
                                                     straps; protective cases for cell
                                                     phones in class 009.
                   SONIC
5,024,565                            Aug. 23, 2016
                  RUNNERS
                                                   For: Entertainment services,
                                                   namely, providing on-line video
                                                   games and on-line computer games;
                                                   providing information on on-line
                                                   games; providing amusement
                                                   facilities in class 041.
                                                   For: Computer game programs;
                                                   computer game software; video
                                                   game software; video game
                                                   programs; video game discs and
                                                   video game cartridges; computer
                                                   game software for use on mobile
                                                   and cellular phones; mobile phone
                                                   straps; protective cases for cell
                                                   phones; downloadable graphics,
                                                   images and moving images for
                                                   computers, video game machines or
                                                   mobile phones featuring scenes and
5,268,608       SONIC MANIA          Aug. 22, 2017
                                                   characters based on computer and
                                                   video games; downloadable
                                                   computer and video game software;
                                                   downloadable music files via a
                                                   global computer network and
                                                   wireless devices; sound recorded
                                                   compact discs featuring music,
                                                   video game sounds and dialogues;
                                                   musical sound recordings;
                                                   prerecorded video discs and tapes
                                                   featuring music, comedy, drama,
                                                   action, adventure and animation;



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                                                     electronic publications, namely,
                                                     downloadable books and magazine
                                                     s in the field of computer games,
                                                     video games, cartoons and music;
                                                     phonograph records featuring music
                                                     in class 009.

                                                     For: Entertainment services,
                                                     namely, providing on-line video
                                                     games and on-line computer games;
                                                     providing amusement facilities;
                                                     providing amusement arcade
                                                     services; providing amusement
                                                     parks; organization, production and
                                                     presentation of video and computer
                                                     game contests and tournaments in
                                                     class 041.
                                                     For: Computer game programs for
                                                     home video consoles; electronic
                                                     circuits, magnetic computer tapes
                                                     and disks, optical disks, ROM
                                                     cartridges and other recording
                                                     media, namely, computer cartridges
                                                     and computer cassettes, all
                                                     containing video game programs
                                                     for use with home video game
                                                     consoles; electronic circuits,
                                                     magnetic computer tapes and disks,
5,619,845       SONIC BOOM            Dec. 4, 2018   optical disks, ROM cartridges and
                                                     other recording media, namely,
                                                     computer cartridges and computer
                                                     cassettes, all containing video game
                                                     programs for use with hand-held
                                                     games with liquid crystal displays;
                                                     video game software for home
                                                     video game consoles;
                                                     telecommunication machines and
                                                     apparatus, namely, cellular phones
                                                     and mobile phones; straps for
                                                     mobile phones; computers;



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                                                   computer game programs;
                                                   electronic circuits, magnetic
                                                   computer tapes and disks, optical
                                                   disks, ROM cartridges containing
                                                   computer game programs;
                                                   computer software for children's
                                                   education; computer application
                                                   software for mobile phones,
                                                   namely, game software; computer
                                                   game software; computer software
                                                   for computer system management;
                                                   computer programs for arcade
                                                   video game machines; electronic
                                                   circuits, magnetic computer tapes
                                                   and disks, optical disks, ROM
                                                   cartridges and other recording
                                                   media, namely, computer cartridges
                                                   and cassettes, all containing video
                                                   game programs for use with arcade
                                                   video game machines; game
                                                   software for arcade video game
                                                   machines; video game program;
                                                   video game software; phonograph
                                                   records featuring music;
                                                   downloadable music files;
                                                   downloadable music files for
                                                   mobile telephones and tablet
                                                   computers; recorded compact discs
                                                   featuring music, animated cartoons;
                                                   downloadable image files in the
                                                   field of computer games, video
                                                   games and animated cartoons;
                                                   downloadable image files, namely,
                                                   downloadable moving image files
                                                   for mobile terminals, in the field of
                                                   computer games, video games and
                                                   animated cartoons; recorded video
                                                   discs and video tapes featuring
                                                   movies, cartoons, video games;
                                                   videotapes and videodiscs recorded



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                                                   with animation; downloadable
                                                   electronic publications, namely,
                                                   books, comic books, magazines and
                                                   manuals featuring computer games,
                                                   video games and animated cartoons
                                                   in class 009.

                                                   For: Pastes and other adhesives for
                                                   stationery or household purposes;
                                                   hygienic hand towels of paper,
                                                   namely, wet tissue; paper towels;
                                                   table napkins of paper; hand towels
                                                   of paper; handkerchiefs of paper;
                                                   stationery; seals; stickers; printed
                                                   matter, namely, comic books, video
                                                   game instruction manuals,
                                                   children's books, children's activity
                                                   books, songbooks, children's
                                                   magazines, magazines and
                                                   pamphlets featuring information
                                                   and articles about fashion and
                                                   games; pictorial prints; picture
                                                   books; catalogues in the field of
                                                   computer games, video games and
                                                   animated cartoons; calendars;
                                                   trading cards; paintings and
                                                   calligraphic works; printed
                                                   photographs; photograph stands in
                                                   class 016.

                                                   For: Clothing for domestic pets;
                                                   bags, namely, athletic bags, all-
                                                   purpose sports bags and beach
                                                   bags; pouches, namely, felt
                                                   pouches, leather pouches and key
                                                   pouches; Boston bags; rucksacks;
                                                   card cases, namely, credit card
                                                   cases, name card cases and game
                                                   card cases; key cases; purses;
                                                   commutation-ticket holders,



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                                                   namely, wallets, document cases,
                                                   ticket pouches; business card cases;
                                                   unfitted vanity cases sold empty;
                                                   umbrellas and their parts; walking
                                                   sticks; canes; metal parts of canes
                                                   and walking-sticks; walking cane
                                                   handles and walking stick handles;
                                                   saddlery in class 018.

                                                   For: Non-metal locks; cushions;
                                                   Japanese floor cushions (zabuton);
                                                   pillows; mattresses; nameplates and
                                                   door nameplates, not of metal;
                                                   hand-held flat fans; hand-held
                                                   folding fans; furniture; wind
                                                   chimes; plastic keychains with a
                                                   small doll attached; plastic key tags
                                                   with a small doll attached in class
                                                   020.

                                                   For: Plastic handheld shopping
                                                   baskets; cosmetic and toilet
                                                   utensils; toothbrushes; hair brushes;
                                                   toilet cases, namely, toilet brush
                                                   holder; kitchen utensils, namely,
                                                   batter dispenser, grill covers,
                                                   barbeque branders and grates;
                                                   kitchen containers, namely, kitchen
                                                   containers, containers for household
                                                   or kitchen user of precious metal
                                                   and non-electric kitchen containers
                                                   not made of precious metal; non-
                                                   electric cooking pots and pans; non-
                                                   electric coffee-pots; Japanese cast
                                                   iron kettles, non-electric (tetsubin);
                                                   non-electric kettles; tableware,
                                                   other than knives, forks and spoons,
                                                   namely, coffee services, tea
                                                   services; drinking cups; dishes;
                                                   Japanese rice bowls (chawan);



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                                                   lunch boxes; Japanese style tea
                                                   cups (yunomi); Japanese style soup
                                                   serving bowls (wan); non-electric
                                                   portable coldboxes; rice chests;
                                                   food preserving jars of glass;
                                                   drinking flasks; vacuum bottles;
                                                   piggy banks in class 021.

                                                   For: Towels; Japanese cotton
                                                   towels (tenugui); handkerchiefs;
                                                   mosquito nets; bedsheets; futon
                                                   quilts; fitted futon covers not of
                                                   paper, unfitted futon covers not of
                                                   paper; quilt covers; futon ticksticks,
                                                   namely, unstuffed futon covers not
                                                   of paper; pillowcases; blankets,
                                                   namely, lap blankets, bed blankets
                                                   and baby blankets; table napkins of
                                                   textile; dish cloths; shower curtains;
                                                   banners and flags of textile; seat
                                                   covers of textile, namely, fitted
                                                   toilet seat covers of textile, unfitted
                                                   seat covers of textile; wall hangings
                                                   of textile; curtains; table cloths not
                                                   of paper; draperies in the nature of
                                                   thick drop curtains in class 024.

                                                   For: Lottery tickets; amusement
                                                   game machines and apparatus,
                                                   namely, coin-operated amusement
                                                   machines for use in amusement
                                                   parks; arcade video game machines
                                                   other than for use with television
                                                   receivers; coin, card or counter
                                                   operated electronic arcade-type
                                                   video games and amusement
                                                   apparatus adapted for use with an
                                                   external display screen or monitor,
                                                   amusement apparatus incorporating
                                                   a video monitor; arcade medal



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                                                   redemption game machines,
                                                   namely, arcade redemption game
                                                   machines which dispenses tickets or
                                                   the like to successful players;
                                                   arcade ticket redemption game
                                                   machines, namely, arcade
                                                   redemption game machines which
                                                   dispenses tickets or the like to
                                                   successful players; arcade game
                                                   machines other than for use with
                                                   television receivers; coin, card or
                                                   counter operated electronic arcade-
                                                   type video games and amusement
                                                   apparatus, namely, amusement
                                                   apparatus adapted for use with an
                                                   external display screen or monitor;
                                                   fairground ride apparatus, namely,
                                                   amusement park rides; home video
                                                   game machines; hand-held games
                                                   with liquid crystal displays; toys,
                                                   namely, rubber character toys,
                                                   plastic character toys, wooden
                                                   character toys, electronic character
                                                   toys, educational character toys,
                                                   party favors in the nature of small
                                                   toys; squeeze toys; dolls; stuffed
                                                   toys; action figures; puzzles; jigsaw
                                                   puzzles; cards, namely, game cards;
                                                   trading card games; go games;
                                                   Japanese playing cards, namely,
                                                   utagaruta; Japanese chess (shogi
                                                   games); dice; Japanese dice games
                                                   (sugoroku); dice cups; Chinese
                                                   checkers as games; chess games;
                                                   checkers; checker sets; conjuring
                                                   apparatus, namely, magic tricks;
                                                   dominoes; playing cards; Japanese
                                                   playing cards (hanafuda); mah-
                                                   jong; game machines and
                                                   apparatus, namely, coin-operated



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                                                   video games; billiard equipment;
                                                   darts equipment, namely, darts, dart
                                                   shafts, dart boards; digital darts
                                                   equipment, namely, electronic dart
                                                   game; slot machines; sports
                                                   equipment, namely, baseball bats,
                                                   baseball gloves and baseball batting
                                                   helmets, soccer balls, basketballs,
                                                   hockey skates, skis in class 028.

                                                   For: Tea; coffee; cocoa;
                                                   confectionery, namely,
                                                   confectionery made of sugar,
                                                   confectionery, namely, pastilles,
                                                   fondants, fruit jellies candy,
                                                   chocolate, popcorn and chewing
                                                   gum; bread and buns; sandwiches;
                                                   steamed buns stuffed with minced
                                                   meat (niku-manjuh); hamburger
                                                   sandwiches; pizzas; hot dog
                                                   sandwiches; meat pies; ice cream;
                                                   pasta, macaroni, oatmeal, flakes,
                                                   namely, corn flakes, oat flakes,
                                                   maize flakes; pastry; bread; Chinese
                                                   stuffed dumplings (gyoza, cooked);
                                                   Chinese steamed dumplings
                                                   (shumai, cooked); sushi; fried balls
                                                   of batter mix with small pieces of
                                                   octopus, namely, takoyaki; boxed
                                                   lunches consisting primarily of rice,
                                                   with added meat, fish or vegetables;
                                                   ravioli; instant confectionery mixes,
                                                   namely, instant pudding mix, cake
                                                   mixes, sherbet mixes and ice cream
                                                   mixes; crepes; pasta sauce; biscuits;
                                                   cookies in class 030.

                                                   For: Carbonated drinks, namely,
                                                   carbonated soft drinks; fruit juices;
                                                   vegetable juices; whey beverages in



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                                                   class 032.

                                                   For: Providing non-downloadable
                                                   electronic publications in the nature
                                                   of magazines, newsletters, picture
                                                   books and comic books in the field
                                                   of computer games, video games
                                                   and animated cartoons; services of
                                                   reference libraries for literature and
                                                   documentary records; book rental;
                                                   providing on-line electronic
                                                   publications via internet or database
                                                   including websites in the nature of
                                                   magazines, news letters, picture
                                                   books and comic books in the field
                                                   of computer games, video games
                                                   and animated cartoons; planning or
                                                   arrangement of showing movies,
                                                   live show performances, plays or
                                                   musical performances; movie
                                                   showing, movie film production, or
                                                   movie film distribution; providing
                                                   on-line images, movies, moving
                                                   images and graphics in the field of
                                                   computer games, video games and
                                                   animated cartoons; providing on-
                                                   line images, movies, moving
                                                   images and graphics by computer
                                                   terminals or mobile phones;
                                                   entertainment in the form of non-
                                                   downloadable images relating to
                                                   fictional characters from books,
                                                   animation, toys and games;
                                                   direction or presentation of plays;
                                                   providing on-line music, not
                                                   downloadable, via computer
                                                   terminals or mobile phones;
                                                   organization of game tournaments;
                                                   entertainment services, namely,
                                                   providing amusement park rides in



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                                                     the nature of bumper car ride and
                                                     roller coaster ride; providing
                                                     amusement facilities; providing
                                                     amusement arcade services;
                                                     providing amusement parks;
                                                     providing on-line video games;
                                                     providing on-line board games;
                                                     providing on-line quizzes;
                                                     providing information relating to
                                                     on-line computer games; providing
                                                     on-line computer games; providing
                                                     information relating to providing
                                                     on-line computer games; providing
                                                     information, in websites offering
                                                     on-line video games, consisting of
                                                     the game scores achieved by
                                                     players of the games on the website
                                                     and the rankings of such players
                                                     based on those scores; production
                                                     of radio or television programs;
                                                     television entertainment, namely, a
                                                     continuing animated cartoons,
                                                     variety, news, comedy show
                                                     broadcast over television;
                                                     production of radio and television
                                                     programs; radio entertainment,
                                                     namely, a continuing animated
                                                     cartoons, variety, news, comedy
                                                     show broadcast over the radio,
                                                     radio entertainment production in
                                                     class 041.
                                                     For: Video game software;
                                                     computer game programs;
                                                     computer game discs video
                                                     computer game programs; home
2,892,207                            Oct. 12, 2004   video computer game discs game
                                                     discs containing game programs for
                                                     use with hand-held video game
                                                     machines with built-in screens;
                                                     musical sound recordings; in class



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                                                     009.


                                                     For: Computer game programs;
                                                     computer game software; video
                                                     game software; video game
                                                     programs; video game discs and
                                                     cartridges; computer game software
                                                     for use on mobile and cellular
                                                     phones; downloadable graphics and
4,366,529                            Jul. 16, 2013   images featuring fictional
                                                     characters or video games, and
                                                     music via a global computer
                                                     network; downloadable graphics
                                                     and moving images for mobile
                                                     phones featuring fictional
                                                     characters or video games in class
                                                     009.


                                                     For: Computer game programs;
3,972,721                            Jun. 7, 2011    video game software; video game
                                                     programs in class 009.


                                                     For: Downloadable computer game
                                                     programs; recorded computer game
                                                     programs; downloadable computer
                                                     game software; recorded computer
                                                     game software; downloadable video
                                                     game software; recorded video
                                                     game software; downloadable video
6,187,305      SONIC RACING          Nov. 3, 2020    game programs; recorded video
                                                     game programs; video game discs
                                                     and cartridges; downloadable
                                                     computer game software for use on
                                                     mobile and cellular phones; mobile
                                                     phone straps; protective cases for
                                                     cell phones; downloadable
                                                     graphics, images and moving



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                                                   images for computers, video game
                                                   machines or mobile phones
                                                   featuring scenes and characters
                                                   based on computer and video
                                                   games; downloadable computer
                                                   game and video game software;
                                                   downloadable music files via a
                                                   global computer network and
                                                   wireless devices; sound recorded
                                                   compact discs featuring music,
                                                   video game sounds and dialogues;
                                                   compact discs, magnetic tapes, and
                                                   downloadable files featuring
                                                   musical sound recordings;
                                                   prerecorded video discs and tapes
                                                   featuring music, comedy, drama,
                                                   action, adventure and animation;
                                                   electronic publications, namely,
                                                   downloadable books and magazines
                                                   in the field of computer games,
                                                   video games, cartoons and music;
                                                   phonograph records featuring music
                                                   in class 009.

                                                   For: Entertainment services,
                                                   namely, providing on-line video
                                                   games and on-line computer games;
                                                   providing entertainment
                                                   information on on-line games;
                                                   providing non-downloadable on-
                                                   line computer graphics, moving
                                                   images and images featuring scenes
                                                   and characters based on computer
                                                   and video games by computer
                                                   networks, video game machines or
                                                   mobile phones; providing
                                                   amusement facilities; providing
                                                   amusement arcade services;
                                                   providing amusement parks;
                                                   organization, production and



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                                                     presentation of video and computer
                                                     game contests and tournaments;
                                                     providing entertainment
                                                     information about amusement
                                                     facilities; providing on-line music,
                                                     not downloadable in class 041.
                                                     For: Downloadable computer game
                                                     programs; recorded computer game
                                                     programs; downloadable computer
                                                     game software; recorded computer
                                                     game software; downloadable video
                                                     game software; recorded video
                                                     game software; downloadable video
                                                     game programs; recorded video
                                                     game programs; video game discs
                                                     and cartridges; downloadable
                                                     computer game software for use on
                                                     mobile and cellular phones;
                                                     downloadable computer game and
                                                     video game software in class 009.

                                                     For: Pastes and other adhesives for
                TEAM SONIC                           stationery or household purposes;
6,263,485                             Feb. 9, 2021
                  RACING                             hygienic hand towels of paper;
                                                     table napkins of paper; hand towels
                                                     of paper; handkerchiefs of paper;
                                                     stationery; stickers; printed matter,
                                                     namely, comic books, instruction
                                                     manuals in the field of computer
                                                     games and video games, children's
                                                     books, children's activity books,
                                                     songbooks, children's magazines
                                                     and magazines in the field of
                                                     computer games, video games,
                                                     cartoons and music; picture books,
                                                     reference books in the field of
                                                     computer games, video games,
                                                     cartoons and music; catalogues in
                                                     the field of computer games, video
                                                     games, cartoons and music;



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                                                   calendars; general feature
                                                   magazines in the field of computer
                                                   games, video games, cartoons and
                                                   music; books, namely, coloring
                                                   books, date books; pamphlets in the
                                                   field of computer games, video
                                                   games, cartoons and music; trading
                                                   cards other than for games; printed
                                                   instructional and teaching material
                                                   in the field of computer games,
                                                   video games, cartoons and music;
                                                   photographs; photograph stands in
                                                   class 016.

                                                   For: Clothing, namely, t-shirts,
                                                   shirts, sweaters, sweatshirts,
                                                   jackets, pajamas, coats, swimwear,
                                                   mufflers as neck scarves, gloves,
                                                   scarves, neck ties, socks,
                                                   underwear, pants, jeans, shorts,
                                                   skirts, underpants, robes; shoes;
                                                   boots; footwear; beach shoes;
                                                   galoshes; half-boots; lace boots;
                                                   sandals; sneaker; sports shoes;
                                                   wooden shoes; heels, namely, high-
                                                   heel shoes; masquerade costumes;
                                                   play costumes, namely, costumes
                                                   for use in children's dress up play,
                                                   costumes for use in role-playing
                                                   games; clothes for sports, namely,
                                                   sports jerseys and breeches for
                                                   sports; boots for sports; headwear,
                                                   namely, hats and caps in class 025.

                                                   For: Coin-operated video games;
                                                   arcade game machines; arcade
                                                   video game machines; amusement
                                                   game machines with built-in
                                                   screens; toy vehicles; dolls; stuffed
                                                   toys; toy action figures; trading



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                                                   card games; playing cards; arcade
                                                   redemption game machines which
                                                   dispense tickets or tokens to
                                                   successful players; arcade crane
                                                   game machines which dispense
                                                   tickets or tokens to successful
                                                   players; gaming machines, namely,
                                                   slot machines in class 028.

                                                   For: Tea; prepared coffee and
                                                   coffee-based beverages; prepared
                                                   cocoa and cocoa-based beverages;
                                                   almond confectionery, namely,
                                                   almond cookies, chocolate
                                                   confectionery, namely, chocolate
                                                   mousses, chocolate cakes and
                                                   chocolate chips, confectionery
                                                   fondants, namely, rolled fondant,
                                                   confectionery fruits jellies, namely,
                                                   fruit jelly candy, confectionery
                                                   fruits pastes, namely, fruit paste for
                                                   flavoring of food, peanut
                                                   confectionery, namely, peanut
                                                   brittle and peanut butter
                                                   confectionery chips, fruits-based
                                                   confectionery, namely, fruit coulis,
                                                   fruit turnovers and fruit cobblers;
                                                   bread and buns; sandwiches;
                                                   hamburgers sandwiches; pizzas; hot
                                                   dog sandwiches; meat pies; ice
                                                   cream; preparations made from
                                                   cereals, namely, cereal-based snack
                                                   bars; sushi; ravioli; instant
                                                   confectionery mixes, namely,
                                                   cappuccino mixes, hot chocolate
                                                   mixes and biscuit mixes; crepes;
                                                   pasta sauce; biscuits; cookies in
                                                   class 030.

                                                   For: Beer; fruit-flavored carbonated



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                                                    drinks; fruit juices; vegetable
                                                    juices; extracts of hops for making
                                                    beer; whey beverages in class 032.

                                                   For: Entertainment services,
                                                   namely, providing on-line video
                                                   games and on-line computer games;
                                                   organization, production and
                                                   presentation of video and computer
                                                   game contests and tournaments in
                                                   class 041.
                                                   For: Downloadable computer game
                                                   programs; recorded computer game
                                                   programs; downloadable computer
                                                   game software; recorded computer
                                                   game software; downloadable video
                                                   game software; recorded video
                                                   game software; downloadable video
                                                   game programs; recorded video
                                                   game programs; video game discs
                                                   and cartridges; downloadable
                                                   computer game software for use on
                                                   mobile and cellular phones; mobile
                                                   phone straps; protective cases for
                                                   cell phones; downloadable
7,002,602       SONIC PRIME          Mar. 21, 2023 graphics, images, and video
                                                   recordings for computers, video
                                                   game machines and mobile phones
                                                   featuring scenes and characters
                                                   based on computer and video
                                                   games; downloadable computer
                                                   game and video game software;
                                                   downloadable music files via a
                                                   global computer network and
                                                   wireless devices; sound recordings
                                                   recorded on compact discs featuring
                                                   music, video game sounds and
                                                   dialogues; prerecorded compact
                                                   discs, magnetic audio tapes, and
                                                   downloadable files featuring music;



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                                                   prerecorded video discs and
                                                   magnetic audio tapes featuring
                                                   music, comedy, drama, action,
                                                   adventure and animation; electronic
                                                   publications, namely, downloadable
                                                   books and magazines in the field of
                                                   computer games, video games,
                                                   cartoons and music; phonograph
                                                   records featuring music; animated
                                                   cartoons, namely, videotapes and
                                                   videodiscs recorded with
                                                   animation; downloadable electronic
                                                   publications in the nature of books,
                                                   manuals, catalogs, pamphlets, and
                                                   magazines in the field of computer
                                                   games, video games, cartoons and
                                                   music; pedometers; scales;
                                                   bathroom scales in class 009.

                                                   For: Pastes and other adhesives for
                                                   stationery or household purposes;
                                                   hygienic hand towels of paper;
                                                   towels of paper; table napkins of
                                                   paper; hand towels of paper;
                                                   handkerchiefs of paper; stationery;
                                                   seals being stationery; stickers
                                                   being stationery; blank notepads;
                                                   decorative stickers for portable
                                                   game machines; printed instruction
                                                   manuals in the field of computer
                                                   games, video games, cartoons and
                                                   music; printed picture books;
                                                   printed reference books in the field
                                                   of computer games, video games,
                                                   cartoons and music; printed
                                                   catalogues in the field of computer
                                                   games, video games, cartoons and
                                                   music; printed calendars; printed
                                                   magazine publications in the field
                                                   of computer games, video games,



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                                                   cartoons and music; printed books
                                                   in the field of computer games,
                                                   video games, cartoons and music;
                                                   printed pamphlets in the field of
                                                   computer games, video games,
                                                   cartoons and music; printed trading
                                                   cards, other than for games; printed
                                                   game hint books and manuals;
                                                   printed photographs; photograph
                                                   stands in class 016.

                                                   For: Clothing for domestic pets;
                                                   bags, namely, carry-on bags;
                                                   shoulder bags; school bags;
                                                   traveling bags; pouches of leather;
                                                   boston bags; rucksacks; key cases;
                                                   wallets; credit card cases; vanity
                                                   cases, not fitted; umbrellas and their
                                                   parts; walking sticks; canes; metal
                                                   parts of canes and walking-sticks;
                                                   handles for canes and walking-
                                                   sticks; saddlery in class 018.

                                                   For: Clothing, namely, t-shirts,
                                                   shirts, sweaters, sweatshirts,
                                                   jackets, pajamas, coats, swimwear,
                                                   mufflers, gloves, scarves, neck ties,
                                                   socks, underwear, pants, jeans,
                                                   shorts, skirts, underpants, robes;
                                                   footwear; beach shoes; boots;
                                                   galoshes; half-boots; lace boots;
                                                   sandals; sneakers; shoes; sports
                                                   shoes; wooden shoes; high-heeled
                                                   shoes; masquerade costumes; play
                                                   costumes, namely, costumes for use
                                                   in children's dress up play,
                                                   costumes for use in role-playing
                                                   games; clothes for sports namely,
                                                   sports jerseys and breeches for
                                                   sports; boots for sports; headwear,



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                                                   namely hats and caps in class 025.

                                                   For: Toy vehicles; dolls; plush
                                                   dolls; stuffed toys; toy action
                                                   figures; toy for pets; toy jewelry;
                                                   bath toys; electronic action toys;
                                                   plastic character toys; children's
                                                   educational toys for developing
                                                   cognitive skills; construction toys;
                                                   puzzles; children's multiple activity
                                                   toys; toy building sets comprised of
                                                   toy building blocks; novelty toy
                                                   face masks; trading card games;
                                                   playing cards; coin-operated video
                                                   games; arcade game machines;
                                                   arcade video game machines;
                                                   amusement game machines with
                                                   built-in screens; arcade redemption
                                                   game machines which dispense
                                                   tickets or tokens to successful
                                                   players; arcade crane game
                                                   machines which dispense tickets or
                                                   tokens to successful players in class
                                                   028.

                                                   For: Tea; prepared coffee and
                                                   coffee-based beverages; prepared
                                                   cocoa and cocoa-based beverages;
                                                   almond confectionery, namely,
                                                   cookies; chocolate confectionery;
                                                   confectionery fondants;
                                                   confectionery fruit jellies, namely,
                                                   fruit jelly candy; confectionery fruit
                                                   pastes for flavouring of food;
                                                   peanut confectionery, namely,
                                                   peanut brittle and peanut butter
                                                   confectionery chips; fruit-based
                                                   confectionery, namely, hollow
                                                   candy forms filled with fruit; bread
                                                   and buns; steamed buns stuffed



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                                                   with minced meat; meat pies; ice
                                                   cream; cereal preparations¸,
                                                   namely, cereal-based snack bars;
                                                   Chinese stuffed dumplings; Chinese
                                                   steamed dumplings; sushi; pre-
                                                   packaged boxed lunches consisting
                                                   of rice, with added meat, fish or
                                                   vegetables; ravioli; instant
                                                   confectionery mixes¸, namely,
                                                   cappuccino mixes, hot chocolate
                                                   mixes, cocoa mixes, cake mixes,
                                                   cookie mixes, pastry mixes, crepe
                                                   mixes, mixes for bakery goods,
                                                   biscuit mixes, instant pudding
                                                   mixes, mixes for candy making,
                                                   frosting mixes, frozen yogurt
                                                   mixes, pre-processed mixes for
                                                   making non-dairy frozen
                                                   confections; crepes; pasta sauce;
                                                   biscuits; cookies in class 030.

                                                   For: Entertainment services,
                                                   namely, providing on-line video
                                                   games and on-line computer games;
                                                   providing information on on-line
                                                   games; providing non-
                                                   downloadable on-line computer
                                                   graphics, videos and images
                                                   featuring scenes and characters
                                                   based on computer and video
                                                   games by computer networks, video
                                                   game machines or mobile phones;
                                                   providing amusement facilities;
                                                   organization, production and
                                                   presentation of video and computer
                                                   game events; arranging and
                                                   conducting of video game and
                                                   computer game events for
                                                   entertainment purposes;
                                                   organization or arrangement of



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                                                   game tournaments; providing
                                                   information about amusement
                                                   facilities; providing on-line music,
                                                   not downloadable; providing
                                                   electronic publications in the nature
                                                   of books, manuals, catalogs,
                                                   pamphlets, and magazines in the
                                                   field of computer games, video
                                                   games, cartoons and music;
                                                   services of reference libraries for
                                                   literature and documentary records;
                                                   book rental; planning, management
                                                   or arrangement of showing movies,
                                                   theatrical shows, plays or musical
                                                   performances; providing
                                                   information relating to planning,
                                                   management or arrangement of
                                                   showing movies, theatrical shows,
                                                   plays or musical performances;
                                                   movie showing, movie film
                                                   production, or movie film
                                                   distribution; providing information
                                                   relating to providing on-line
                                                   graphics, movies showing, moving
                                                   images, images, music and
                                                   publishing of electronic
                                                   publications; providing on-line
                                                   graphics, movies showing, moving
                                                   images, images, music and text
                                                   information by computer terminals
                                                   or mobile phones; providing
                                                   information relating to providing
                                                   on-line graphics, movies showing,
                                                   moving images, images, music and
                                                   publishing of electronic
                                                   publications by computer terminals
                                                   or mobile phones; providing on-line
                                                   graphic novels, not downloadable,
                                                   relating to characters of books,
                                                   animated cartoons, toys, games;



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                                                   images showing; presentation of
                                                   live show performances; direction
                                                   or presentation of theatrical plays;
                                                   presentation of musical
                                                   performances; on-line presentation
                                                   of shows, theatrical plays or
                                                   musical performances; providing
                                                   information relating to on-line
                                                   presentation of shows, theatrical
                                                   plays or musical performances;
                                                   provision of shows, theatrical plays
                                                   or musical performances by
                                                   computer terminals or mobile
                                                   phones; providing information
                                                   relating to provision of shows,
                                                   theatrical plays or musical
                                                   performances by computer
                                                   terminals or mobile phones;
                                                   production of theatrical shows;
                                                   production of live theatrical and
                                                   musical shows; presentation of
                                                   musical performances, direction or
                                                   presentation of theatrical plays and
                                                   presentation of musical
                                                   performances provided on-line
                                                   from a computer network;
                                                   production of moving images and
                                                   music using the internet via
                                                   streaming; production of moving
                                                   images and music relating to
                                                   animated cartoons using the internet
                                                   via streaming; on-line production of
                                                   radio or television programs;
                                                   production of radio or television
                                                   programs and production of
                                                   broadcast programs, using
                                                   computer graphics; directing of
                                                   radio and television programs;
                                                   providing information relating to
                                                   direction of radio and television



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                                                   programs; organization of sporting
                                                   events; providing sports
                                                   information; organization and
                                                   provision of games and
                                                   competitions via the internet;
                                                   organization, arranging and
                                                   conducting of computer game and
                                                   video game tournaments;
                                                   organization, arranging and
                                                   conducting of photo sessions;
                                                   providing information relating to
                                                   sports and sporting events;
                                                   organizing and conducting of
                                                   sporting and cultural events; rental
                                                   of game machines and apparatus;
                                                   providing exercise facilities; rental
                                                   of sports equipment; photography
                                                   in class 041.
                                                   For: Video game attachments for
                                                   television sets, namely, video game
                                                   control sticks, video game
1,566,116                            Nov. 14, 1989
                                                   programs recorded on integrated
                                                   circuits in the form of cartridges
                                                   and cards in class 028.
                                                   For: Coin-operated video games;
                                                   arcade game machines; arcade
                                                   video game machines; amusement
                                                   game machines with built-in
                                                   screens; toy vehicles; dolls; stuffed
                                                   toys; toy action figures; trading
6,039,333                            Apr. 28, 2020 card games; playing cards; arcade
                                                   redemption game machines which
                                                   dispense tickets or tokens to
                                                   successful players; arcade crane
                                                   game machines which dispense
                                                   tickets or tokens to successful
                                                   players; slot machines in class 028.
                                                   For: Video game machines for use
2,315,166           SEGA             Feb. 8, 2000  with televisions; electronic gaming
                                                   machines; video game software;



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                                                     computer game software in class
                                                     009.


3,245,697           SEGA             May 29, 2007 For: T-shirts; shirts in class 025.

                                                   For: Computer game programs;
                                                   computer game software; video
                                                   game software; video game
                                                   programs; video game discs and
                                                   cartridges; computer game software
                                                   for use on mobile and cellular
                                                   phones; mobile phone straps;
                                                   protective cases for cell phones;
                                                   downloadable graphics, images and
                                                   moving images for computers,
                                                   video game machines or mobile
                                                   phones featuring scenes and
                                                   characters based on computer and
                                                   video games; downloadable
                                                   computer and video game software;
                                                   downloadable music files via a
                                                   global computer network and
5,700,030       SEGA HEROES          Mar. 19, 2019
                                                   wireless devices; sound recorded
                                                   compact discs featuring music,
                                                   video game sounds and dialogues;
                                                   musical sound recordings;
                                                   prerecorded video discs and tapes
                                                   featuring music, comedy, drama,
                                                   action, adventure and animation;
                                                   electronic publications, namely,
                                                   downloadable books and magazines
                                                   in the field of computer games,
                                                   video games, cartoons and music;
                                                   phonograph records featuring music
                                                   in class 009.

                                                     For: Entertainment services,
                                                     namely, providing on-line video
                                                     games and on-line computer games;



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                                                      providing entertainment
                                                      information on on-line games;
                                                      providing non-downloadable on-
                                                      line graphics, moving images and
                                                      images featuring scenes and
                                                      characters based on computer and
                                                      video games by computer networks,
                                                      video game machines or mobile
                                                      phones; providing amusement
                                                      facilities; providing amusement
                                                      arcade services; providing
                                                      amusement parks; organization,
                                                      production and presentation of
                                                      video and computer game contests
                                                      and tournaments; providing
                                                      entertainment information about
                                                      amusement facilities; providing on-
                                                      line music, not downloadable in
                                                      class 041.
                                                     For: Video game software, computer
3,491,509       DREAMCAST            Aug. 26, 2008
                                                     game programs in class 009.
                                                   For: Video output game machines;
                                                   software for video output game
                                                   machines; attachments for video
                                                   output game machines; namely,
1,690,329          GENESIS           June 2, 1992
                                                   joystick controllers and joypad
                                                   controllers; and carrying cases and
                                                   storage containers for the foregoing
                                                   in class 028.
                                                   For: Home video game software,
                SEGA GENESIS
3,358,022                            Dec. 18, 2007 video game software for hand-held
                 COLLECTION
                                                   game machines in class 009.
                  SONIC’S
                 ULTIMATE                            For: Video game software in class
3,713,204                            Nov. 17, 2009
                  GENESIS                            009.
                COLLECTION




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                                                                For: Video game software in class
    3,013,830                                     Nov. 08, 2005 009.




       17.      The U.S. registrations for the Sega Trademarks are valid, subsisting, and in full

force and effect, and some are incontestable pursuant to 15 U.S.C. § 1065. The registrations for

the Sega Trademarks constitute prima facie evidence of their validity and of Sega’s exclusive right

to use the Sega Trademarks pursuant to 15 U.S.C. § 1057(b). True and correct copies of the United

States Registration Certificates for the Sega Trademarks are attached hereto as Exhibit 2.

       18.      The Sega Trademarks are exclusive to Sega and are displayed extensively on Sega

Products and in marketing and promotional materials. The Sega Trademarks are also distinctive

when applied to Sega Products, signifying to the purchaser that the products come from Sega and

are manufactured to Sega’s quality standards. Whether Sega manufactures the products itself or

contracts with others to do so, Sega has ensured that its products bearing the Sega Trademarks are

manufactured to the highest quality standards.

       19.      The Sega Trademarks are famous marks, as that term is used in 15 U.S.C. §

1125(c)(1) and have been continuously used and never abandoned. The innovative marketing and

product designs of Sega Products have enabled the Sega and Sonic the Hedgehog brands to achieve

widespread recognition and fame and have made the Sega Trademarks some of the most well-

known marks in the video game and entertainment industries. The widespread fame, outstanding

reputation, and significant goodwill associated with the Sega and Sonic the Hedgehog brands have

made the Sega Trademarks valuable assets of Sega.

       20.      The Sega Trademarks have been the subject of substantial and continuous

marketing and promotion by Sega. Sega has and continues to market and promote the Sega


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Trademarks in the industry and to consumers through traditional print media, authorized retailers,

the official Sega website shop.sega.com, social media sites, and point of sale material.

         21.   Sega has expended substantial time, money, and other resources in advertising and

promoting the Sega Trademarks.         Specifically, Sega has expended substantial resources in

advertising, promoting, and marketing featuring the Sega Trademarks. Sega Products have also

been the subject of extensive unsolicited publicity resulting from their high-quality, innovative

designs. As a result, products bearing the Sega Trademarks are widely recognized and exclusively

associated by consumers as being high-quality products sourced from Sega. Sega Products have

become among the most popular of their kind in the world. The Sega Trademarks have achieved

tremendous fame and recognition, adding to the inherent distinctiveness of the marks. As such,

the goodwill associated with the Sega Trademarks is of immeasurable value to Sega.

         22.   Sega Products are sold only through authorized retail channels and are recognized

by the public as being exclusively associated with the Sega and Sonic the Hedgehog brands.

         23.   Defendants are unknown individuals and business entities who own and/or operate

one or more of the e-commerce stores under the Seller Aliases identified on Schedule A and/or

other seller aliases not yet known to Sega. On information and belief, Defendants reside and/or

operate in foreign jurisdictions and redistribute products from the same or similar sources in those

locations. Defendants have the capacity to be sued pursuant to Federal Rules of Civil Procedure

17(b).

         24.   On information and belief, Defendants, either individually or jointly, operate one

or more e-commerce stores under the Seller Aliases listed in Schedule A attached hereto. Tactics

used by Defendants to conceal their identities and the full scope of their operation make it virtually

impossible for Plaintiffs to learn Defendants’ true identities and the exact interworking of their




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network.     If Defendants provide additional credible information regarding their identities,

Plaintiffs will take appropriate steps to amend the Complaint.

                      IV.     DEFENDANTS’ UNLAWFUL CONDUCT

       25.      The success of the Sega and Sonic the Hedgehog brands has resulted in significant

counterfeiting of the Sega Trademarks and infringement of the Sega Copyrighted Works. Because

of this, Sega has implemented a brand protection program by investigating suspicious websites

and online marketplace listings identified in proactive Internet sweeps. Recently, Sega has

identified many fully interactive e-commerce stores offering Unauthorized Products on online

marketplace platforms like Alibaba Group Holding Ltd. (“Alibaba”), Amazon.com, Inc.

(“Amazon”), and Walmart, Inc. (“Walmart”) including the e-commerce stores operating under the

Seller Aliases. The Seller Aliases target consumers in this Judicial District and throughout the

United States. According to a report prepared for The Buy Safe America Coalition, most

infringing products now come through international mail and express courier services because of

increased sales from foreign online infringers. The Counterfeit Silk Road: Impact of Counterfeit

Consumer Products Smuggled Into the United States, prepared by John Dunham & Associates

(Exhibit 3).

       26.      Because the infringing products sold by offshore online infringers do not enter

normal retail distribution channels, the US economy lost an estimated 300,000 or more full-time

jobs in the wholesale and retail sectors alone in 2020. Id. When accounting for lost jobs from

suppliers that would serve these retail and wholesale establishments, and the lost jobs that would

have been induced by employees re-spending their wages in the economy, the total economic

impact resulting from the sale of infringing products was estimated to cost the United States

economy over 650,000 full-time jobs that would have paid over $33.6 billion in wages and




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benefits. Id. Additionally, it is estimated that the importation of infringing goods cost the United

States government nearly $7.2 billion in personal and business tax revenues in the same period.

Id.

        27.    Furthermore, online marketplace platforms like those used by Defendants do not

adequately subject new sellers to verification and confirmation of their identities, allowing

infringers to “routinely use false or inaccurate names and addresses when registering with these e-

commerce platforms.” Exhibit 4, Daniel C.K. Chow, Alibaba, Amazon, and Counterfeiting in the

Age of the Internet, 40 NW. J. INT’L L. & BUS. 157, 186 (2020); see also report on “Combating

Trafficking in Counterfeit and Pirated Goods” prepared by the U.S. Department of Homeland

Security’s Office of Strategy, Policy, and Plans (Jan. 24, 2020), attached as Exhibit 5, and finding

that on “at least some e-commerce platforms, little identifying information is necessary for a

counterfeiter to begin selling” and that “[t]he ability to rapidly proliferate third-party online

marketplaces greatly complicates enforcement efforts, especially for intellectual property rights

holders.” Infringers hedge against the risk of being caught and having their websites taken down

from an e-commerce platform by establishing multiple virtual storefronts. Exhibit 5 at p. 22.

Since platforms generally do not require a seller on a third-party marketplace to identify the

underlying business entity, infringers can have many different profiles that can appear unrelated

even though they are commonly owned and operated. Exhibit 5 at p. 39. Further, “[e]-commerce

platforms create bureaucratic or technical hurdles in helping brand owners to locate or identify

sources of [infringing products] and [infringers].” Exhibit 4 at 186-187. Specifically, brand

owners are forced to “suffer through a long and convoluted notice and takedown procedure only

[for the infringer] to reappear under a new false name and address in short order.” Id. at p. 161.




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       28.     Defendants have targeted sales to Illinois residents by setting up and operating e-

commerce stores that target United States consumers using one or more Seller Aliases; offer

shipping to the United States, including Illinois; accept payment in U.S. dollars; and, on

information and belief, sell Unauthorized Products to residents of Illinois.

       29.     Defendants concurrently employ and benefit from similar advertising and

marketing strategies. For example, Defendants facilitate sales by designing the e-commerce stores

operating under the Seller Aliases so that they appear to unknowing consumers to be authorized

online retailers, outlet stores, or wholesalers. E-commerce stores operating under the Seller Aliases

appear sophisticated and accept payment in U.S. dollars via numerous methods, including credit

cards, Alipay, Amazon Pay, and/or PayPal. E-commerce stores operating under the Seller Aliases

often include content and images that make it very difficult for consumers to distinguish such

stores from an authorized retailer. Sega has not licensed or authorized Defendants to use any of

the Sega Trademarks and/or to copy or distribute the Sega Copyrighted Works, and none of the

Defendants are authorized retailers of Sega Products.

       30.     Many Defendants also deceive unknowing consumers by using the Sega

Trademarks without authorization within the content, text, and/or meta tags of their e-commerce

stores to attract consumers using search engines to find websites relevant to Sega Products. Other

e-commerce stores operating under the Seller Aliases omit using the Sega Trademarks in the item

title to evade enforcement efforts while using strategic item titles and descriptions that will trigger

their listings when consumers are searching for Sega Products.

       31.     E-commerce store operators like Defendants commonly engage in fraudulent

conduct when registering the Seller Aliases by providing false, misleading and/or incomplete




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information to e-commerce platforms to prevent discovery of their true identities and the scope of

their e-commerce operation.

       32.     E-commerce store operators like Defendants regularly register or acquire new seller

aliases for the purpose of offering for sale and selling Unauthorized Products. Such seller alias

registration patterns are one of many common tactics used by e-commerce store operators like

Defendants to conceal their identities and the full scope and interworking of their operation, and

to avoid being shut down.

       33.     Even though Defendants operate under multiple fictitious aliases, the e-commerce

stores operating under the Seller Aliases often share identifiers, such as templates with common

design elements that intentionally omit any contact information or other information for

identifying Defendants or other Seller Aliases they operate or use. E-commerce stores operating

under the Seller Aliases include other notable common features such as use of the same registration

patterns, accepted payment methods, check-out methods, keywords, advertising tactics,

similarities in price and quantities, the same incorrect grammar and misspellings, and/or the use of

the same text and images. Additionally, Unauthorized Products for sale by the Seller Aliases bear

similar irregularities and indicia of being unauthorized to one another, suggesting that the

Unauthorized Products were manufactured by and come from a common source and that

Defendants are interrelated.

       34.     E-commerce store operators like Defendants communicate with each other through

QQ.com chat rooms and utilize websites, like sellerdefense.cn, that provide tactics for operating

multiple online marketplace accounts and evading detection by brand owners. Websites like

sellerdefense.cn also tip off e-commerce store operators like Defendants of new intellectual

property infringement lawsuits filed by brand owners, such as Sega, and recommend that e-




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commerce operators cease their infringing activity, liquidate their associated financial accounts,

and change the payment processors that they currently use to accept payments in their online stores.

       35.     Infringers, such as Defendants, typically operate under multiple seller aliases and

payment accounts so that they can continue operation despite Sega’s enforcement. E-commerce

store operators like Defendants maintain off-shore bank accounts and regularly move funds from

their financial accounts to off-shore accounts outside the jurisdiction of this Court to avoid

payment of any monetary judgment awarded to Sega.

       36.     Defendants are working in active concert to knowingly and willfully manufacture,

import, distribute, offer for sale, and sell Unauthorized Products in the same transaction,

occurrence, or series of transactions or occurrences. Defendants, without any authorization or

license from Sega, have jointly and severally, knowingly, and willfully used and continue to use

the Sega Trademarks and/or copies of the Sega Copyrighted Works in connection with the

advertisement, distribution, offering for sale, and sale of Unauthorized Products into the United

States and Illinois over the Internet.

       37.     Defendants’ unauthorized use of the Sega Trademarks and/or Sega Copyrighted

Works in connection with the advertising, distribution, offering for sale, and sale of Unauthorized

Products, including the sale of Unauthorized Products into the United States, including Illinois, is

likely to cause, and has caused, confusion, mistake, and deception by and among consumers and

is irreparably harming Sega.

                            COUNT I
     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

       38.     Sega hereby re-alleges and incorporates by reference the allegations set forth in the

preceding paragraphs.




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        39.     This is a trademark infringement action against certain Defendants 3 based on their

unauthorized use in commerce of counterfeit imitations of the Sega Trademarks in connection with

the sale, offering for sale, distribution, and/or advertising of infringing goods.           The Sega

Trademarks are highly distinctive marks. Consumers have come to expect the highest quality from

Sega Products offered, sold, or marketed under the Sega Trademarks.

        40.     Certain Defendants have sold, offered to sell, marketed, distributed, and advertised,

and are still selling, offering to sell, marketing, distributing, and advertising products using

counterfeit reproductions of the Sega Trademarks without Sega’s permission.

        41.     Sega owns the Sega Trademarks. Sega’s United States registrations for the Sega

Trademarks are in full force and effect. Upon information and belief, certain Defendants have

knowledge of Sega’s rights in the Sega Trademarks and are willfully infringing and intentionally

using infringing and counterfeit versions of the Sega Trademarks. Those Defendants’ willful,

intentional, and unauthorized use of the Sega Trademarks is likely to cause, and is causing,

confusion, mistake, and deception as to the origin and quality of the Unauthorized Products among

the general public.

        42.     Certain Defendants’ activities constitute willful trademark infringement and

counterfeiting under Section 32 of the Lanham Act, 15 U.S.C. § 1114.

        43.     Sega has no adequate remedy at law, and if certain Defendants’ actions are not

enjoined, Sega will continue to suffer irreparable harm to its reputation and the goodwill of the

Sega Trademarks.




3
 Count I applies to all Defendants who infringed the Sega Trademarks, as outlined in Schedule A attached
hereto.


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        44.     The injuries and damages sustained by Sega have been directly and proximately

caused by certain Defendants’ wrongful reproduction, use of advertisement, promotion, offering

to sell, and/or sale of Unauthorized Products.

                                   COUNT II
                  FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

        45.     Sega hereby re-alleges and incorporates by reference the allegations set forth in the

preceding paragraphs.

        46.     Certain Defendants’ 4 promotion, marketing, offering for sale, and sale of

Unauthorized Products has created and is creating a likelihood of confusion, mistake, and

deception among the general public as to the affiliation, connection, or association with Sega or

the origin, sponsorship, or approval of the Unauthorized Products by Sega.

        47.     By using the Sega Trademarks in connection with the offering for sale and/or sale

of Unauthorized Products, certain Defendants create a false designation of origin and a misleading

representation of fact as to the origin and sponsorship of the Unauthorized Products.

        48.     Certain Defendants’ false designation of origin and misrepresentation of fact as to

the origin and/or sponsorship of the Unauthorized Products to the general public involves the use

of counterfeit marks and is a willful violation of Section 43 of the Lanham Act, 15 U.S.C. § 1125.

        49.     Sega has no remedy at law and will continue to suffer irreparable harm to its

reputation and the associated goodwill of the Sega and Sonic the Hedgehog brands if certain

Defendants’ actions are not enjoined.




4
 Count II applies to all Defendants who infringed the Sega Trademarks, as outlined in Schedule A attached
hereto.


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                                COUNT III
            COPYRIGHT INFRINGEMENT OF UNITED STATES COPYRIGHT
                    REGISTRATIONS (17 U.S.C. §§ 106 and 501)

        50.    Sega hereby re-alleges and incorporates by reference the allegations set forth in the

preceding paragraphs.

        51.    The Sega Copyrighted Works constitute original works and copyrightable subject

matter pursuant to the Copyright Act, 17 U.S.C. § 101, et seq.

        52.    Sega owns the Sega Copyrighted Works. Sega has complied with the registration

requirements of 17 U.S.C. § 411(a) for the Sega Copyrighted Works. The Sega Copyrighted

Works are protected by copyright registration numbers which were duly issued to Sega by the

United States Copyright Office. At all relevant times, Sega has been, and still is, the owner of all

rights, title, and interest in the Sega Copyrighted Works, which have never been assigned, licensed,

or otherwise transferred to Defendants.

        53.    The Sega Copyrighted Works are published on the internet and available to

Defendants online. As such, Defendants had access to the Sega Copyrighted Works via the

internet.

        54.    Without authorization from Sega, or any right under the law, certain Defendants 5

have deliberately copied, displayed, distributed, reproduced, and/or made derivative works

incorporating the Sega Copyrighted Works on e-commerce stores operating under the Seller

Aliases and the corresponding Unauthorized Products. Certain Defendants’ derivative works are

virtually identical to and/or are substantially similar to the look and feel of the Sega Copyrighted




5
 Count III applies to all Defendants who infringed the Sega Copyrighted Works, as outlined in Schedule
A attached hereto.


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Works. Such conduct infringes and continues to infringe the Sega Copyrighted Works in violation

of 17 U.S.C. § 501(a) and 17 U.S.C. §§ 106(1)–(3), (5).

       55.     Certain Defendants reap the benefits of the unauthorized copying and distribution

of the Sega Copyrighted Works in the form of revenue and other profits that are driven by the sale

of Unauthorized Products.

       56.     Certain Defendants have unlawfully appropriated Sega’s protectable expression by

taking material of substance and value and creating Unauthorized Products that capture the total

concept and feel of the Sega Copyrighted Works, including the distinctive characters embodied

therein.

       57.     On information and belief, the certain Defendants’ infringement has been willful,

intentional, purposeful, and in disregard of and with indifference to Sega’s rights.

       58.     Certain Defendants, by their actions, have damaged Sega in an amount to be

determined at trial.

       59.     Certain Defendants’ conduct is causing and, unless enjoined and restrained by this

Court, will continue to cause Sega great and irreparable injury that cannot fully be compensated

or measured in money. Sega has no adequate remedy at law. Pursuant to 17 U.S.C. § 502, Sega

is entitled to a preliminary and permanent injunction prohibiting further infringement of the Sega

Copyrighted Works.

                                    PRAYER FOR RELIEF

WHEREFORE, Sega prays for judgment against Defendants as follows:

   1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

       confederates, and all persons acting for, with, by, through, under, or in active concert with

       them be temporarily, preliminarily, and permanently enjoined and restrained from:




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     a. using the Sega Trademarks or any reproductions, counterfeit copies or colorable

        imitations thereof in any manner in connection with the distribution, marketing,

        advertising, offering for sale, or sale of any product that is not a Sega Product or is

        not authorized by Sega to be sold in connection with the Sega Trademarks;

     b. reproducing, distributing copies of, making derivative works of, or publicly

        displaying the Sega Copyrighted Works in any manner without the express

        authorization of Sega;

     c. passing off, inducing, or enabling others to sell or pass off any products as Sega

        Products or any other product produced by Sega, that is not Sega’s or not produced

        under the authorization, control, or supervision of Sega and approved by Sega for

        sale under the Sega Trademarks and/or Sega Copyrighted Works;

     d. committing any acts calculated to cause consumers to believe that Defendants’

        Unauthorized Products are those sold under the authorization, control, or

        supervision of Sega, or are sponsored by, approved by, or otherwise connected with

        Sega;

     e. further infringing the Sega Trademarks and/or Sega Copyrighted Works and

        damaging Sega’s goodwill; and

     f. manufacturing, shipping, delivering, holding for sale, transferring, or otherwise

        moving, storing, distributing, returning, or otherwise disposing of, in any manner,

        products or inventory not manufactured by or for Sega, nor authorized by Sega to

        be sold or offered for sale, and which bear any of the Sega Trademarks, or any

        reproductions, counterfeit copies or colorable imitations thereof and/or which bear

        the Sega Copyrighted Works;




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2) Entry of an Order that, upon Sega’s request, those with notice of the injunction, including

   without limitation, any websites and/or online marketplace platforms like Alibaba,

   Amazon, and Walmartshall disable and cease displaying any advertisements used by or

   associated with Defendants in connection with the sale of counterfeit and infringing goods

   using the Sega Trademarks and/or Sega Copyrighted Works;

3) That certain Defendants account for and pay to Sega all profits realized by those

   Defendants by reason of those Defendants’ unlawful acts herein alleged, and that the

   amount of damages for infringement of the Sega Trademarks be increased by a sum not

   exceeding three times the amount thereof as provided by 15 U.S.C. § 1117;

4) In the alternative, that Sega be awarded statutory damages for willful trademark

   counterfeiting pursuant to 15 U.S.C. § 1117(c)(2) of $2,000,000 for each and every use of

   the Sega Trademarks;

5) As a direct and proximate result of certain Defendants’ infringement of the Sega

   Copyrighted Works, Sega is entitled to damages as well as those Defendants’ profits,

   pursuant to 17 U.S.C. § 504(b);

6) Alternatively, and at Sega’s election prior to any final judgment being entered, Sega is

   entitled to the maximum amount of statutory damages provided by law, $150,000 per work

   infringed pursuant to 17 U.S.C. § 504(c), or for any other such amount as may be proper

   pursuant to 17 U.S.C. § 504(c);

7) Sega is further entitled to recover its attorneys’ fees and full costs for bringing this action

   pursuant to 17 U.S.C. § 505 and 15 U.S.C. § 1117(a); and

8) Award any and all other relief that this Court deems just and proper.




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Dated this 20th day of June 2024.     Respectfully submitted,


                                      /s/ Martin F. Trainor
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